                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION


  UNITED STATES OF AMERICA                 )
                                           )
  V.                                       ) Cr. No. 4:18-CR-00011-01
                                           )
  MARCUS JAY DAVIS,                        )
            Defendant.                     )

                    RESPONSE REGARDING JURY QUESTIONNAIRE

        The Court has provided counsel with a proposed jury questionnaire and ordered

  that any comments, suggestions, or objections be docketed within 14 days of April 25,

  2019. On behalf of Mr. Davis, undersigned counsel have no objections to the

  questionnaire and believe it will be quite helpful in achieving the objections of a juror

  questionnaire.

        Only one additional question is requested, which was not included in the

  questionnaire previously submitted on behalf of Mr. Davis.

        “Do you think criminal Defendants are afforded too many constitutional rights?”

                                                        Respectfully submitted,
                                                        Marcus Jay Davis

                                                        By: s/Anthony F. Anderson
                                                           Counsel for Defendant

                                                        By: s/Beverly M. Davis
                                                            Counsel for Defendant




                                                                                    1




Case 4:18-cr-00011-MFU-RSB Document 446 Filed 05/03/19 Page 1 of 2 Pageid#: 1715
  Anthony F. Anderson, VSB #21345             Beverly M. Davis, VSB # 33784
  Melissa W. Friedman, VSB #27277             Davis, Davis & Davis, Attorneys
  Anderson & Friedman                         519 Second Street
  P. O. Box 1525                              Radford, Virginia 24141
  Roanoke, Virginia 24007                     (540) 639-9095
  (540) 982-1525                              540-639-9095 (fax)
  (540) 982-1539 (fax)                        bevdavis@davisattys.com
  afa@afalaw.com
                                CERTIFICATE OF SERVICE

              I hereby certify that this 3rd day of May, 2019, I electronically filed the foregoing Response
  to Jury Questionnaire with the Clerk of the Court using the CM/ECF system which will send
  notification of such filing to all counsel of record including the following:

  Heather L. Carlton, Esquire, AUSA
  Ronald Mitchell Huber, Esquire, AUSA
  United States Attorney’s Office
  Charlottesville
  255 West Main Street, Room 130
  Charlottesville, Virginia 22901
  434-293-4283
  heather.carlton@usdoj.gov
  ron.huber@usdoj.gov



                                                           s/Anthony F. Anderson
                                                           Anthony F. Anderson
                                                           Anderson & Friedman
                                                           1102 Second Street, S. W.
                                                           P. O. Box 1525
                                                           Roanoke, Virginia 24007
                                                           (540) 982-1525
                                                           (540) 982-1539 (fax)
                                                           afa@afalaw.com




                                                                                                   2




Case 4:18-cr-00011-MFU-RSB Document 446 Filed 05/03/19 Page 2 of 2 Pageid#: 1716
